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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO.

  CHANELL S. WARD,

         Plaintiff,

  v.

  GEORGIA EMERGENCY ASSOCIATES, P.C.,

         Defendant.

  _________________________________________/

                                         COMPLAINT
                                        JURY DEMAND

         1.        Plaintiff alleges violation Telephone Consumer Protection Act, 47 U.S.C

  §227, et seq. (“TCPA”).

                                JURISDICTION AND VENUE

         2.        This Court has jurisdiction under 28 U.S.C. §§1331. Mims v. Arrow Fin.

  Servs. LLC, 132 S. Ct. 740 (U.S. 2012); 2012 U.S. LEXIS 906 (U.S. 2012). Venue in this

  District is proper because Plaintiff resides here and Defendant placed telephone calls into

  this District.

                                            PARTIES

         1.        Plaintiff, CHANELL S. WARD, is a natural person and a citizen of the

  State of Florida, residing in Miami-Dade County, Florida.




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         2.     Defendant, GEORGIA EMERGENCY ASSOCIATES, P.C., is a Georgia

  corporation and citizen of the State of Georgia with its principal place of business at 5629

  Highway 21 South, Rincon, Georgia 31326.

         3.     Defendant is registered with the Georgia Secretary of State Corporations

  Division as a domestic corporation. Its registered agent for service of process is Mark F.

  Coffey, 5629 Highway 21 South, Rincon, Georgia 31326.

                                FACTUAL ALLEGATIONS

         4.     Defendant, or others acting on its behalf, left the following message on

  Plaintiff’s voice mail on her cellular telephone on or about the date stated:

         NOVEMBER 7, 2014 – Pre-recorded message
         Hello. Hello, I am calling about important personal business for
         Terrell Smith. Please have Terrell Smith call me back as soon as
         possible at the following number 800-726-5010. Again, my number is
         800-726-5010.

         Hello, I am calling about important personal business for Terrell
         Smith. Please have Terrell Smith call me back as soon as possible at
         the following number 800-726-5010. Again, my number is 800-726-
         5010. Thank you. Goodbye.

         5.     In addition to the foregoing, Defendant, or others acting on its behalf, left

  pre-recorded messages on Plaintiff's cellular telephone service on other occasions and on

  still other occasions called and hung-up without leaving a message.

         6.     Defendant, or others acting on its behalf, placed telephone calls to

  Plaintiff’s cellular telephone using an automatic telephone dialing system or an artificial

  or pre-recorded voice.



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         7.     Calls placed to 800-726-5010 are greeted with a pre-recorded message

  stating in relevant part "You have reached the medical billing offices of Georgia

  Emergency Associates…".

         8.     At no time has Plaintiff been treated by or indebted to Georgia

  Emergency Associates.

         9.     Based upon Defendant's request in the messages to "…have Terrell Smith

  call me back...", Defendant knew it was not placing calls Mr. Smith's telephone number.

         10.     Defendant placed automated calls to Plaintiff in an effort cause Plaintiff to

  relay its message to Mr. Smith.

         11.    Defendant knew it was placing automated calls to a person other than its

  apparent patient.

         12.    Defendant failed to determine the status of Plaintiff's telephone service as

  cellular service before placing automated calls to Plaintiff.

         13.    Defendant willfully or knowingly violated the TCPA.

         14.    None of Defendant telephone calls placed to Plaintiff were for “emergency

  purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

                             COUNT I
       VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

         15.    Plaintiff incorporates Paragraphs 1 through 14.

         16.    Defendant, or others acting on its behalf, placed non-emergency telephone

  calls to Plaintiff’s cellular telephone using an automatic telephone dialing system or pre-

  recorded or artificial voice violation of 47 U.S.C § 227 (b)(1)(A)(iii).

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         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

                a.     Damages;

                b.     a declaration that Defendant calls violate the TCPA;

                c.     a permanent injunction prohibiting Defendants from placing non-

                emergency calls to Plaintiff’s cellular telephone using an automatic

                telephone dialing system or pre-recorded or artificial voice; and

                d.     Such other or further relief as the Court deems proper.

                                            JURY DEMAND

         Plaintiff demands trial by jury.

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